        Case 19-12562-amc                      Doc
                                        Filed 05/13/24 Entered 05/13/24 14:05:22                                     Desc Main
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  Fill in this information to identify the case:
  Debtor 1     ROBERT BERNATOVICH

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number 19-12562-amc




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                         10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


  Part 1:     Mortgage Information

  Name of Creditor:         PHH Mortgage Corporation                                                           Court claim no. (if known):
                                                                                                               14
  Last 4 digits of any number you use to identify the debtor’s account: 3391

  Property address:          4610 Longshore Ave
                             Number Street
                             Philadelphia, PA 19135
                             City      State    ZIP Code


  Part 2:     Prepetition Default Payments

  Check one:
     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim.
     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
     of this response is:                                                                                              $ _______________


  Part 3:     Postpetition Mortgage Payment

  Check one:

     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
     the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on: 07/01/2024
                                                                             MM/DD/YYYY


     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a. Total postpetition ongoing payments due:                                                                      (a) $ _____________

      b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +(b) $ _____________

      c. Total. Add lines a and b.                                                                                     (c) $ _____________

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                   _______________
       due on:                                                                         MM/DD/YYYY
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 Debtor1     ROBERT BERNATOVICH                                                                Case number (if known) 19-12562-amc
                First         Middle                Last



Part 4:     Itemized Payment History


 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
  all payments received;
  all fees, costs, escrow, and expenses assessed to the mortgage; and
  all amounts the creditor contends remain unpaid.




Part 5:     Sign Here


 The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
 proof of claim.

 Check the appropriate box::
     I am the creditor.
     I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


           /s/Andrew Spivack
                 Signature
                                                                                             Date 05/13/2024



Print            Andrew Spivack                                                         _        Title   Attorney                       _
                 First Name                     Middle Name       Last Name




Company          Brock & Scott, PLLC                                                    _



If different from the notice address listed on the proof of claim to which this response applies:



Address          3825 Forrestgate Dr._
                 Number                Street



                 Winston-Salem, NC 27103
                 City                                             State           ZIP Code


Contact phone    844-856-6646 Email P A B K R @ b r o c k a n d sc o t t. c o m
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                      Philadelphia Division


 IN RE:
 ROBERT BERNATOVICH                                    Case No. 19-12562-amc
                                                       Chapter 13
 PHH Mortgage Corporation,
        Movant

 vs.

 ROBERT BERNATOVICH ,
     Debtor




                                         CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response to Notice of
Final Cure Payment has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Michael A Cibik, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102


SCOTT F WATERMAN [Chapter 13], Bankruptcy Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

Office of the U.S. Trustee, US Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107


Via First Class Mail:

ROBERT BERNATOVICH
4610 LONGSHORE AVENUE
PHILADELPHIA, PA 19135
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Date: May 13, 2024
                                   /s/Andrew Spivack
                                   Andrew Spivack, PA Bar No. 84439
                                   Matthew Fissel, PA Bar No. 314567
                                   Mario Hanyon, PA Bar No. 203993
                                   Ryan Starks, PA Bar No. 330002
                                   Jay Jones, PA Bar No. 86657
                                   Attorney for Creditor
                                   BROCK & SCOTT, PLLC
                                   3825 Forrestgate Drive
                                   Winston Salem, NC 27103
                                   Telephone: (844) 856-6646
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                                   E-Mail: PABKR@brockandscott.com
